       Case 4:13-cr-00160-DLH          Document 167        Filed 04/27/15      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )      ORDER
                                              )
       vs.                                    )
                                              )
Blue Sky Starr,                               )      Case No. 4:13-cr-160
                                              )
               Defendant.                     )


       On September 15, 2014, the court issued an order conditionally releasing defendant pending

his sentencing hearing. On January 21, 2015, it approved a modification to defendant’s release

conditions.

       On April 27, 2015, defense counsel advised the court that defendant is contemplating on

surrendering to the United States Marshal on April 28, 2015, at 1:00 p.m. so that he may begin

serving his anticipated sentence. Accordingly, the court ORDERS that, upon surrendering to the

United State’s Marshal’s office in Fargo, North Dakota, defendant shall be committed to the custody

the Attorney General or designated representative for confinement in an appropriate correctional

facility. Defendant shall be afforded reasonable opportunity for private consultation with defense

counsel. On order of a court or on request of an attorney for the Government, the person in charge

of the correctional facility shall deliver defendant to the United States Marshal for the purpose of

an appearance in connection with court proceedings.

       IT IS SO ORDERED.

       Dated this 27th day of April, 2015.

                                                     /s/ Charles S. Miller, Jr.
                                                     Charles S. Miller, Jr., Magistrate Judge
                                                     United States District Court
